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                      EXHIBIT 1
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  VALUATION
  MEASURING AND
  MANAGING THE
  VALUE OF
  COMPANIES
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  VALUATION
  MEASURING AND
  MANAGING THE
  VALUE OF
  COMPANIES
  SEVENTH EDITION



  McKinsey & Company
  Tim Koller
  Marc Goedhart
  David Wessels
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                                                                                        2

                   Finance in a Nutshell

   Companies create value when they earn a return on invested capital (ROIC)
   greater than their opportunity cost of capital.1 If the ROIC is at or below the
   cost of capital, growth may not create value. Companies should aim to find
   the combination of growth and ROIC that drives the highest discounted value
   of their cash flows. In so doing, they should consider that performance in the
   stock market may differ from intrinsic value creation, generally as a result of
   changes in investors’ expectations.
       To illustrate how value creation works, this chapter uses a simple story.
   Our heroes are Lily and Nate, who start out as the owners of a small chain of
   trendy clothing stores. Success follows. Over time, their business goes through
   a remarkable transformation. They develop the idea of Lily’s Emporium and
   convert their stores to the new concept. To expand, they take their company
   public to raise additional capital. Encouraged by the resulting gains, they
   develop more retail concepts, including Lily’s Furniture and Lily’s Garden
   Supplies. In the end, Lily and Nate are faced with the complexity of managing
   a multibusiness retail enterprise.


   THE EARLY YEARS

   When we first met Lily and Nate, their business had grown from a tiny bou-
   tique into a small chain of trendy, midpriced clothing stores called Lily’s
   Dresses. They met with us to find out how they could know if they were
   achieving attractive financial results. We told them they should measure their
   business’s return on invested capital: after-tax operating profits divided by
   the capital invested in working capital and property, plant, and equipment.

  1
    A simple definition of return on invested capital is after-tax operating profit divided by invested
  capital (working capital plus fixed assets). ROIC’s calculation from a company’s financial statements is
  explained in detail in Chapters 10 and 11.


                                                                                                       17
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   18   FINANCE IN A NUTSHELL


  Then they could compare the ROIC with what they could earn if they invested
  their capital elsewhere—for example, in the stock market.
      Lily and Nate had invested $10 million in their business, and in 2020 they
  earned about $1.8 million after taxes, with no debt. So they calculated their
  return on invested capital as 18 percent. They asked what a reasonable guess
  would be for the rate they could earn in the stock market, and we suggested
  they use 10 percent. They easily saw that their money was earning 8 percent
  more than what we were assuming they could earn by investing elsewhere, so
  they were pleased with their business’s performance.
      We commented that growth is also important to consider in measuring
  financial performance. Lily told us that the business was growing at about 5
  percent per year. Nate added that they discovered growth can be expensive; to
  achieve that growth, they had to invest in new stores, fixtures, and inventory.
  To grow at 5 percent and earn 18 percent ROIC on their growth, they rein-
  vested about 28 percent of their profits back into the business each year. The
  remaining 72 percent of profits was available to withdraw from the business.
  In 2020, then, they generated cash flow of about $1.30 million.
      Lily and Nate were satisfied with 5 percent growth and 18 percent ROIC
  until Lily’s cousin Logan told them about his aggressive expansion plans for
  his own retail business, Logan’s Stores. Based on what Logan had said, Lily
  and Nate compared the expected faster growth in operating profit for Logan’s
  Stores with their own company’s 5 percent growth, as graphed in Exhibit 2.1.
  Lily and Nate were concerned that Logan’s faster-growing profits signaled a
  defect in their own vision or management.
      “Wait a minute,” we said. “How is Logan getting all that growth? What
  about his ROIC?” Lily and Nate checked and returned with the data shown
  in Exhibit 2.2. As we had suspected, Logan was achieving his growth by


   EXHIBIT 2.1 Expected Profit Growth at Logan’s Stores Outpacing Lily’s Dresses

   After-tax operating profit,
   $ thousand

            3,000

                                                                             Logan’s Stores
            2,500
                                                                             Lily’s Dresses

            2,000


            1,500


            1,000


              500


                0
                2020             21   22       23         24          2025
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                                                                             A NEW CONCEPT   19


   EXHIBIT 2.2 Lily’s Dresses Outperforming in Return on Invested Capital (ROIC) and
                Cash Flow

   ROIC,
   %

                        20
                                                                      Lily’s Dresses
                        15                                            Logan’s Stores

                        10


                            5


                            0
                            2020       21    22    23    24    2025
   Cash flow,
   $ thousand

                       2,000
                                                                       Lily’s Dresses
                       1,500


                       1,000


                        500
                                                                       Logan’s Stores

                                0
                                2020    21    22    23    24    2025



  investing heavily. Despite all the growth in operating profit, his company’s
  ROIC was declining significantly, so cash flow was slipping downward.
      We asked the two why they thought their stores earned higher returns on
  capital than Logan’s. Nate said one reason was that their products were unique
  and cutting-edge fashion, so their customers were willing to pay higher prices for
  their dresses than for the products at many other dress shops. Lily added that each
  of their stores attracted more customers, so their sales per square foot (a proxy for
  fixed costs) were greater than Logan’s. As they saw it, Logan’s products were not
  much different from those of his competitors, so he had to match his prices to
  theirs and had less customer traffic in his stores. This discussion helped Nate and
  Lily appreciate that it was beneficial to consider ROIC along with growth.


  A NEW CONCEPT

  Several years later, Lily and Nate called us with a great idea. They wanted to
  develop a new concept, which they called Lily’s Emporium. Lily’s Emporium
  would operate larger stores carrying a wider assortment of clothes and acces-
  sories that their talented designers were working on. But when they looked
  at the projected results (they now had a financial-analysis department), they
  found that all the new capital investment to convert their stores would reduce
  ROIC and cash flow for four years, even though revenue and profits would be
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   40      FUNDAMENTAL PRINCIPLES OF VALUE CREATION


    EXHIBIT 3.10 Impact on Value of Improving Margin vs. Capital Productivity


                                                  Increase in value from improving ROIC by 1 percentage point1
                                                                            % change
                                               Through margin       Through capital       Ratio of margin impact to
                             ROIC, %             improvement           productivity      capital productivity impact
                                    10                    20.0                 13.5                              1.2x
                                    20                     6.7                  2.9                              2.3x
                                    30                     4.0                  1.2                              3.4x
                                    40                     2.9                  0.6                              4.6x

  1 For a company with a 9% cost of capital.




  had low growth but increased their ROICs outperformed the faster-growing
  companies that did not improve their ROICs.
      One final factor for management to consider is the method by which it
  chooses to improve ROIC. A company can increase ROIC by either improv-
  ing profit margins or improving capital productivity. With respect to future
  growth, it doesn’t matter which of these paths a company emphasizes. But
  for current operations, at moderate ROIC levels, a one-percentage-point in-
  crease in ROIC through margin improvement will have a moderately higher
  impact on value relative to improving capital productivity. At high levels of
  ROIC, though, improving ROIC by increasing margins will create much more
  value than an equivalent ROIC increase by improving capital productivity.
  Exhibit 3.10 shows how this works for a company that has a 9 percent cost
  of capital.
      The reason for this relationship is best explained by an example. Con-
  sider a company with zero growth, $1,000 of revenues, $100 of profits, and
  $500 of invested capital (translating to a 10 percent margin, a 50 percent
  ratio of invested capital to revenues, and ROIC of 20 percent). One way to
  increase ROIC by one percentage point is to increase the profit margin to
  10.5 percent, increasing profits by $5. Since the company is not growing,
  the $5 of extra profits translates to $5 of cash flow each year going forward.
  Discounting at a 10 percent cost of capital, this represents a $50 increase in
  value. The company could also increase ROIC by reducing working capital.
  If it reduced working capital by $24, ROIC would increase to 21 percent
  ($100 divided by $476). The company’s value would increase only by the
  $24 one-time cash inflow from reducing working capital. Future cash flows
  would not be affected.


  ECONOMIC PROFIT COMBINES ROIC AND SIZE

  You can also measure a company’s value creation using economic profit, a
  measure that combines ROIC and size into a currency metric (here we use the
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                                           ECONOMIC PROFIT COMBINES ROIC AND SIZE                       41


  U.S. dollar). Economic profit measures the value created by a company in a
  single period and is defined as follows:

             Economic Profit = Invested Capital × (ROIC − Cost of Capital)

  In other words, economic profit is the spread between the return on invested
  capital and the cost of capital times the amount of invested capital. Value Inc.’s
  economic profit for year 1 is $50 (Value Inc. must have $500 of starting capital
  if it earns $100 at a 20 percent return in year 1):

                             Economic Profit = $500 × (20% − 10%)
                                             = $500 × 10%
                                             = $50

  Volume Inc.’s economic profit in year 1 is zero (Volume Inc. must have $1,000
  of starting capital if it earns $100 at a 10 percent return in year 1):

                            Economic Profit = $1, 000 × (10% − 10%)
                                            = $1, 000 × 0%
                                            = $0

  You can also value a company by discounting its projected economic profit at
  the cost of capital and adding the starting invested capital. Value Inc. starts
  with $500 of invested capital. Its economic profit in year 1 is $50, which grows
  at 5 percent. Discounting the growing economic profit at a 10 percent discount
  rate gives a present value of economic profit of $1,000.9 Use these amounts to
  solve for value:

          Value = Starting Invested Capital + PV(Projected Economic Profit )
                = $500 + $1, 000
                = $1, 500

  The value of Value Inc. using the economic-profit approach is $1,500, exactly
  the same as with the discounted-cash-flow (DCF) approach.
      Economic profit is also useful for comparing the value creation of differ-
  ent companies or business units. Consider Value Inc.’s economic profit of $50.
  Suppose Big Inc. had $5,000 in invested capital but earned only a 15 percent
  return on capital (and assume it doesn’t have investment opportunities with

  9
    The present value of economic profit for a growing perpetuity is economic profit in year 1 divided by
  the cost of capital minus the growth rate. For Value Inc., the present value of economic profit is there-
  fore $50/(10% – 5%).
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   42   FUNDAMENTAL PRINCIPLES OF VALUE CREATION


  higher returns on capital). Its economic profit would be $250. Clearly, creating
  $250 of economic profit is preferable to creating $50.
      Finally, measuring performance in terms of economic profit encourages a
  company to undertake investments that earn more than their cost of capital,
  even if their return is lower than the current average return. Suppose Value
  Inc. had the opportunity to invest an extra $200 at a 15 percent return. Its av-
  erage ROIC would decline from 20 percent to 18.6 percent, but its economic
  profit would increase from $50 to $60.


  CONSERVATION OF VALUE

  A corollary of the principle that discounted cash flow (DCF) drives value is
  the conservation of value: anything that doesn’t increase cash flows doesn’t
  create value. That means value is conserved, or unchanged, when a company
  changes the ownership of claims to its cash flows but doesn’t change the total
  available cash flows—for example, when it substitutes debt for equity or is-
  sues debt to repurchase shares. Similarly, changing the appearance of the cash
  flows without actually changing the cash flows—say, by changing accounting
  techniques—doesn’t change the value of a company.10 While the validity of
  this principle is obvious, it is worth emphasizing because executives, inves-
  tors, and pundits so often forget it, as when they hope that one accounting
  treatment will lead to a higher value than another or that some fancy financial
  structure will turn a mediocre deal into a winner.
      The battle over how companies should account for executive stock options
  illustrates the extent to which executives continue to believe (erroneously)
  that the stock market is unaware of the conservation of value. Even though
  there is no cash effect when executive stock options are issued, they reduce
  the cash flow available to existing shareholders by diluting their ownership
  when the options are exercised. Under accounting rules dating back to the
  1970s, companies could exclude the implicit cost of executive stock options
  from their income statements. In the early 1990s, as options became more ma-
  terial, the Financial Accounting Standards Board (FASB) proposed a change to
  the accounting rules, requiring companies to record an expense for the value
  of options when they are issued. A large group of executives and venture
  capitalists thought investors would be spooked if options were brought onto
  the income statement. Some claimed that the entire venture capital industry
  would be decimated because young start-up companies that provide much
  of their compensation through options would show low or negative profits.
      The FASB issued its new rules in 2004,11 more than a decade after taking
  up the issue and only after the bursting of the dot-com bubble. Despite dire
  10
     In some cases, a company can increase its value by reducing its cost of capital by using more debt
  in its capital structure. However, even in this case, the underlying change is to reduce taxes, but the
  overall pretax cost of capital doesn’t change. See Chapter 33 for further discussion.
  11
     Financial Accounting Standard 123R, released in December 2004, effective for periods beginning after
  June 15, 2005.
